                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF WISCONSIN
________________________________________________________________________

UNITED STATES OF AMERICA,

                    Plaintiff,
                                                   Case No. 17-CR-124
             v.

MARCUS HUTCHINS,

                 Defendant.
________________________________________________________________________

                  DEFENDANT MARCUS HUTCHINS’
       REPLY IN SUPPORT OF MOTION TO COMPEL DISCOVERY
________________________________________________________________________

      The government’s response to defendant Marcus Hutchins’ motion to

compel lacks merit and is flawed for many reasons, including because it shows a

troubling insensitivity to the tie between the government’s discovery obligations

and a defendant’s right to prepare a defense.

      Mr. Hutchins is not seeking discovery that he is not entitled to under the

law, as the government claims. At its core, discovery in a criminal case is about

what is just and creating a level playing field at trial. There can be no doubt from

the government’s response that it has a bounty of additional materials and

communications relevant to the defense discovery requests. But the government

is not honoring its discovery obligations by failing to disclose them. As such, the

Court should grant Mr. Hutchins’ motion to compel discovery.



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    Request 1: Materials and Communications Relating to the Surveillance
     and Arrest of Mr. Hutchins

      Although the government has now produced two reports and two e-mails

related to Mr. Hutchins’ surveillance and arrest, it is withholding additional

discoverable materials and communications. The government’s response

neglects to mention that these records that the government references as being

disclosed “recently” were produced to the defense earlier on the same day the

response was filed. (See Dkt. No. 45 at 3.)

      This defense request is focused on information that relates to how the

government discussed handling, and did handle, Mr. Hutchins’ arrest and

interview. This would include issues relating to intoxication, exhaustion, and

Miranda warnings, as well as the facts that Mr. Hutchins is a citizen of the

United Kingdom and that the FBI only partially recorded his post-arrest

interview. As such, the government’s complaint about overbreadth is misplaced:

it quibbles that Mr. Hutchins requests “all materials and communications.” (See

id. at 2.) The defense intended that language as distinct from seeking merely

“some” responsive information.

      The government’s production the day it filed its response validates the

merits of this defense request. That production included one e-mail, dated

August 2, 2017 (the day of Mr. Hutchins’ arrest), discussing what the agents

should do if Mr. Hutchins started drinking at the airport (the plan: “pull him out

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of terminal”). This shows the agents’ contemporaneous awareness of, and

concern about, the possibility of Mr. Hutchins being impaired. There surely

might be other communications, including e-mails and text messages on agents’

phones, touching on the voluntariness of Mr. Hutchins’ supposed proper waiver

of his Miranda rights, as well as the voluntariness of the resulting statement.

       The government argues that communications relating to agent travel and

coordinating meetings are not discoverable, but that concern can be swept aside.

(See id. at 4.) The defense does not seek those types of communications; the

defense seeks substantive communications.

       Importantly, the government does not claim that such communications do

not exist. It has said only that the government has “not located any additional

reports related to the surveillance of the defendant while he was in Las Vegas.”

(Id. at 3.) Since the agents started surveillance on July 26, 2017 and it ran

through August 2, 2017, it is inconceivable that the agents actively surveilling

him exchanged nothing but a single e-mail right before Mr. Hutchins’ arrest.1

There may also be communications with the prosecutors. As an example, after

Mr. Hutchins was arrested, the agents may have notified the prosecutors of the




1The only other e-mail disclosed by the government appears to have been sent from an FBI
agent in Milwaukee on July 26, 2017, and requests FBI Las Vegas assistance to conduct
surveillance of Mr. Hutchins.

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arrest and informed them of pertinent particulars like the partial recording of his

interview.

      The defense motion also makes it abundantly clear that the discovery

sought is necessary for the jury to evaluate Mr. Hutchins’ post-arrest statements

“in their full context at trial, should the government to seek to introduce them

into evidence.” (Dkt. 44 at 4.) This request is not geared solely toward motion

practice. The requested information is material to trial—undoubtedly, the

government intends to introduce portions of the post-arrest interview in its case-

in-chief.

      Finally, the government does not dispute that intoxication and exhaustion

are proper grounds for a motion to suppress or on which to cross-examine the

agents who testify at trial about what was purportedly said in the interview. The

government makes much of the fact that Mr. Hutchins was asked by FBI agents if

he had been drinking. But even if the FBI 302 (which was written over four

months after the arrest) is accurate, it does not mention exhaustion or other

possible forms of intoxication (it only mentions drinking). The government’s

response also ignores the significance of Mr. Hutchins’ foreign citizenship and

whether there is any information related to that not already produced.




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    Request 2: Materials and Communications Relating to Mr. Hutchins’
     Co-Defendant

      The Court should reject the government’s arguments as to why it thinks it

appropriate to withhold additional information about Mr. Hutchins’ co-

defendant, the person he is accused of conspiring with.

      The fact that the government has produced some information concerning

the co-defendant does not obviate the requirement for it to produce more, which

appears to be gist of the government’s argument. The government provides no

legal basis at all for failing to turn over the co-defendant’s discovery simply

because that person has not been arrested.

      Mr. Hutchins and his co-defendant are inextricably intertwined in the

indictment. For that reason alone, anything the government would produce to

the co-defendant upon arrest should be produced to Mr. Hutchins (with a few

minor possible exceptions). That the co-conspirator has not yet been arrested is

immaterial to the government’s obligations in Mr. Hutchins’ case. And it is clear

from the government’s response that it is withholding just such discovery.

      The government claims the defense is speculating that the government

possesses more information about the co-defendant, including (important)

information that he operated independently of Mr. Hutchins. (Dkt. No. 45 at 6.)

The government does not deny, however, that this is the case. The government

only claims it does not possess information relating to criminal activity outside of

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what is charged in the indictment, and it will produce additional records if it

identifies them and deems them material. (Id. at 6.) From this, it is apparent that

the government has additional information it is not disclosing based on its own

materiality determinations. This is reinforced by the government’s later

assertion the “information requested cannot be considered material to a trial

defense.” (Id. at 6-7.) The government provides no support or explanation for

that alleged lack of materiality. Indeed, the government fails to describe the

information it is withholding so that the Court to make a meaningful

determination about whether the government should produce it.

      Rather, the government simply goes on to argue that Mr. Hutchins is not

in a position to use the requested information, assuming it is provided, to locate

the co-defendant and obtain exculpatory information because of purported

claims that Mr. Hutchins previously made about not knowing the co-defendant.

(Id. at 7.) This argument glosses over two important points, while at the same

time conceding that information is being withheld. First, Mr. Hutchins made

those purported statements before the government produced any discovery,

which could have refreshed his memory and also assisted his defense team in its

investigation. Second, and more importantly, the requested information may

contain exculpatory information (e.g., the co-defendant operated independently

from Mr. Hutchins).


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       As noted in the motion to compel, the defense is willing to enter into an

amended protective order to alleviate any concerns the government might have

about how the requested discovery could impede the co-defendant’s arrest

(although the government has not voiced any such concern).

     Request 3: Materials and Communications Relating to “Randy”

       The government is wrong that the defense is “not entitled to further

information” about the cooperating witness known as “Randy” because such

information “is covered by the informant privilege.” (See id. at 7.) And this

request is not overbroad, as the government claims, for the same reasons that the

defense’s earlier requests are not overly broad.2

       The government fundamentally misapplies the informant’s privilege.3

“Randy” is not a tipster, which would potentially permit the government to

invoke the protections of the informant’s privilege. To the contrary, the

government concedes the facts necessary for the Court to find that “Randy” is a

transactional witness, which would make the informant’s privilege inapplicable.

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  The government mischaracterizes events relating to this request in the apparent hopes of
undermining the substance of the defense’s points. The government claims “the defendant
misstates the status of discovery when he claims the government has produced only one
‘heavily redacted FBI 302 of an interview with [‘Randy’].” (Id. at 8.) But the defense motion
merely noted that “[i]n response the defense’s discovery requests, the government produced a
heavily redacted 302,” and it is not willing to provide additional discovery relating to “Randy.”
(Dkt. No. 44 at 10.) This is, of course, accurate.

3Nothing about the allegations in this case, nor anything about Mr. Hutchins, suggests that
concealing “Randy” from the defense is necessary for witness safety. The government does not
attempt to make that argument. (See Dkt. No 45 at 7-11.)


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Specifically, “Randy” claims, according to the government, that Mr. Hutchins

sent him a copy of the relevant malware and made “admissions” during their

chats. (Id. at 10.)

        In this way, “Randy” is on equal footing with, for instance, the bank teller

who observed an alleged robber’s facial characteristics. Words Mr. Hutchins

may have communicated to “Randy” have evidentiary value only if the latter

testifies, the same as the teller’s observations of the alleged robber’s appearance.

“Randy” is, in fact, a purported percipient witness who the government cannot

conceal from the defense merely by artificially assigning him the label

“informant.” And, to be clear, the government wants it both ways, wishing to

maintain “Randy” as a witness available to the government at trial. (Id. at 10-11.)

        The government’s proposed solution merits particular mention (due to its

lack of merit): it offers that if it decides to present “Randy” as a trial witness, the

defense will learn “Randy’s” identity in connection with the pretrial report that

Judge Stadtmueller requires a week or two before trial. (Id.) On this basis, the

government dismisses Mr. Hutchins’ desire to prepare his defense with

awareness of a fact witness’ identity as “moot.”4 (Id. at 11.)



4 Mootness could arise if the government declared that it does not intend to use “Randy” as a
trial witness. Until then, the government’s position is an example of wanting to have its cake
(i.e., concealing a fact witness’ identity), while eating it, too (i.e., keeping its options open to use
the witness at trial).


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      The government’s proposal, however, ignores its discovery obligations.

The government cannot restrain a witness’ cooperation with the defense.

Concealing even “Randy’s” identity (and attorney’s name) does worse than chill

a fact witness’ availability to the defense; it prevents the defense from even

reaching out to that witness’ counsel. See United States v. DeRobertis, 766 F.2d 270,

274 (7th Cir. 1985).

      The government’s response also implicitly acknowledges that “Randy”

eventually became “an agent for the government.” (See id. at 10.) Consideration

offered to “Randy” is, of course, something the government must disclose.

      In sum, the government’s unilateral concealment of “Randy” interferes

with Mr. Hutchins’ ability to prepare his defense, and the government has not

articulated any reason to justify nondisclosure.

    Request 4: Portions of the Grand Jury Transcripts Dealing with Legal
     Instructions

      The Court should order the government to disclose the legal instructions

provided to the grand jury because the indictment raises non-speculative

questions about whether the grand jury was properly instructed on the law to

Mr. Hutchins’ prejudice.

      To obtain grand jury materials, a defendant must demonstrate a

“compelling necessity” or a “particularized need.” (Dkt. No. 44 at 14.)



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Importantly, a court has “substantial discretion” to order disclosure. United

States v. Lisinski, 728 F.2d 887, 893 (7th Cir. 1984).

       Mr. Hutchins has shown a “compelling necessity” and a “particularized

need” for access to instructions given to the grand jury. First, rather than

engaging in baseless “speculation,” as the government claims (Dkt. No. 45 at 13-

14), the defense has pointed to two specific instances in the indictment in which

the charged offenses fail to conform to the legal requirements in the law. (Dkt.

No. 44 at 15-16.) Specifically, Counts 2 and 6 each misstate an essential element

of the offense.

       These two material discrepancies raise a genuine question about whether

the grand jury properly understood the basic elements of the charged offenses. If

they were misinformed as to essential elements, this error could have

“substantially influenced the grand jury's decision to indict,” or it may raise

“grave doubt that the decision to indict was free from the substantial influence of

such violations.” Bank of Nova Scotia v. United States, 487 U.S. 250, 256 (1988)

(internal quotation marks omitted).5 The legal instructions are needed to avoid a

possible injustice in Mr. Hutchins’ criminal prosecution.




5See also United States v. Buske, No. 09-CR-65, 2010 WL 3023364, at *3 (E.D. Wis. July 29, 2010)
(Adelman, J.) (an inference may arise that a grand jury has been erroneously instructed where
the prosecutor is “on record advocating an erroneous construction of the law”).

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      Furthermore, the defense’s need for the instructions outweighs the

necessity for continuing secrecy. Lisinski, 728 F.2d at 893. Any need for secrecy

now is weak, at best. Mr. Hutchins and his co-defendant have been indicted, and

there are no known ongoing grand jury deliberations.

      The defense seeks a very limited subset of materials: those reflecting how

the grand jury was instructed as to the law. This information would show

simply what the grand jury understood the relevant law to be and disclose

nothing more. Indeed, some courts have held that a defendant is entitled to

know instructions to the grand jury even without a showing of particularized

need, as they are the “ground rules” by which a grand jury conducts its

proceedings rather than a part of the proceedings themselves. See, e.g., United

States v. Belton, 2015 WL 815273, at *3 (N.D. Cal. Apr. 21, 2015) (citing United

States v. Alter, 482 F.2d 1016, 1029 n. 21 (9th Cir. 1973)).

      While the Seventh Circuit requires a showing of need for access to

instructions given to a grand jury, United States v. Barry, 71 F.3d 1269, 1274 (7th

Cir. 1995), the defense is seeking limited ministerial materials that will reveal

only how the grand jury was instructed on the law. This is another factor that

weighs in favor of disclosure.

      The government may not be required to give the grand jury legal

instructions—but the government does not say that it didn’t do so. (See Dkt. No.


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45 at 12.) The government’s claim that the defense “cannot show the grand jury

was improperly instructed” and thus cannot show prejudice dodges the issue.

(See id. at 13.) The defense seeks the instructions to confirm the grand jury was

improperly instructed for a motion to dismiss, since there are good faith and

non-speculative reasons to believe it was not based on the material errors in how

Counts 2 and 6 were charged. Without the first (the instructions), it is harder to

prove the second (prejudice).

       At a minimum, the defense asks that this Court review any instructions

given to the grand jury in camera to determine whether they should be disclosed.6

     Request 5: Materials and Communications Relating to Search Warrants
      and MLAT Requests

       The government’s opposition to disclosure of MLATs rests largely on its

claims that MLATs are not subject to production pursuant to Federal Rule of

Criminal Procedure 16(a)(2). (Dkt. No. 45 at 16.) But that rule only excludes

from discovery “reports, memoranda, or other internal government documents.”7

(Emphasis added.) An MLAT by its nature is not an internal document: it is sent


6 See, e.g., United States v. Ho, No. 08-00337, 2009 WL 2591345, **4-5 (D. Haw. Aug. 20, 2009)
(finding the possible misleading of the grand jury about a requirement of the charged offense to
be sufficient grounds for an in camera review of grand jury transcripts as they relate to the
government's instructions about that requirement).
7 It states: “Except as permitted by Rule 16(a)(1)(A)-(D), (F), and (G), this rule does not authorize

the discovery or inspection of reports, memoranda, or other internal government documents
made by an attorney for the government or other government agent in connection with
investigating or prosecuting the case. Nor does this rule authorize the discovery or inspection of
statements made by prospective government witnesses except as provided in 18 U.S.C. § 3500.”

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to a foreign government. Nothing could be less “internal.” Rule 16(a)(2) is

inapplicable and provides no grounds for non-disclosure.

      The government’s remaining arguments are equally misplaced. For

example, the defense is not seeking “details” about how the government “plans

to prove its case.” (Dkt. No. 45 at 16 (citation omitted).) The defense simply

seeks an important document used in connection with investigating this case, not

the government’s trial plans.

      Regarding the requested search warrant materials, the government states

that it does not have to produce the one it acknowledges having because it was

executed at a United States residence and “did not involve [Mr.] Hutchins’

property or privacy interests.” (Id. at 16-17.) The fact that it was executed at a

United States residence is irrelevant, of course, even if Mr. Hutchins is a foreign

citizen. And the government does not explain how it came to the conclusion that

the search warrant “did not involve Mr. Hutchins’ property or privacy interests,”

other than baldly claiming it was executed in connection with what it believes is

an unrelated case. There may be some relationship, though, because that search

produced evidence the government is keeping available for its use in this case:

purported statements between Mr. Hutchins and “Randy,” as the government

otherwise acknowledges. (See id. at 16.) And the government ignores the fact




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that if an agent who is going to testify at trial attested to any search warrant, the

government should produce it as a witness statement.

                                  CONCLUSION

      For all the reasons above and those in the motion to compel, the Court

should order the government to produce all of the requested discovery.

DATED: January 26, 2018                 Respectfully submitted,

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